Case 2:24-cv-02439-BMC         Document 32         Filed 01/13/25      Page 1 of 1 PageID #: 185




                                                                     January 13, 2025
VIA ECF
Honorable Brian M. Cogan
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

       RE:    Kahlon v. County of Nassau, et al., Case No. 24-CV-02439

Dear Judge Cogan,

       I write pursuant to the Court’s directive during the January 2, 2024 pre-motion
conference held in this matter. Upon further consideration, Defendant/Counterclaim Plaintiff
Céline Boulben no longer intends to make the contemplated spoliation motion, nor seek
summary judgment dismissing any claims against her.

        It is our understanding that Defendant County of Nassau intends to proceed with its
motion for summary judgment as discussed. The parties will also complete expert discovery as
originally contemplated in a timely fashion.

       Thank you for your time and attention to this matter.

                                                     Respectfully submitted,


                                                     Julia Elmaleh-Sachs

cc:    Kevin T. Kearon
       Alexander Klein
       Ralph Reissman




              212.390.8480 / 16 Court St, Ste 2500, Brooklyn, NY 11241 / crumiller.com
